        Case 2:10-cr-00413-MCE Document 38 Filed 08/18/11 Page 1 of 3


 1   GILBERT A. ROQUE
     Attorney at Law
 2   California State Bar Number 074966
     913 Court Street
 3   Woodland, California 95695
     (530) 666-1935
 4
     Attorney for HUGO CHAVEZ DE LA CRUZ
 5
 6                              UNITED STATES DISTRICT COURT
 7                              EASTERN DISTRICT OF CALIFORNIA
 8
     UNITED STATES OF AMERICA,             )                 2:10-CR-413-MCE
 9                                         )
                          Plaintiff,       )                 STIPULATION AND PROPOSED
10                                         )                 ORDER VACATING DATE,
     vs.                                   )                 CONTINUING CASE AND
11                                         )                 EXCLUDING TIME
                                           )
12   JUAN MANUEL CUEVAS and                )
     HUGO CHAVEZ DE LA CRUZ,               )                 Date : 9/29/11
13                                         )                 Time : 9:00 a.m.
                          Defendants.      )                 Court : Hon. Morrison C. England, Jr.
14   _____________________________________ )
15          IT IS HEREBY STIPULATED by and among Plaintiff United States of America, through
16   Assistant United States Attorney Paul A. Hemesath; Defendant Juan Manuel Cuevas, through
17   his counsel, J. Toney; and Defendant Hugo Chávez De La Cruz, through his counsel, Gilbert
18   A. Roque, that the Status Conference scheduled for August 25, 2011, at 9:00 a.m., be vacated
19   and the matter be continued to September 29, 2011, at 9:00 a.m., before the Honorable
20   Morrison C. England, Jr.
21          This continuance is requested by the defense in order to permit further diligent
22   examination of possible defenses, further client consultation concerning available courses of
23   action, negotiations with the prosecution and review of discovery.
24          IT IS FURTHER STIPULATED that time for trial under the Speedy Trial Act, 18 U.S.C.
25   § 3161 et seq. be tolled pursuant to 18 U.S.C. § 3161(h)(7)(A) and (B)(iv), Local Code T-4
26   (time to prepare), and that the ends of justice served in granting the continuance and allowing
27   the defendants further time to prepare outweigh the best interests of the public and the
28   defendants in a speedy trial.

                                                   1
        Case 2:10-cr-00413-MCE Document 38 Filed 08/18/11 Page 2 of 3


 1          The Court is advised that all counsel have conferred about this request, that they have
 2   agreed to the September 29, 2011 date, and that all counsel have authorized Mr. Roque to
 3   sign this stipulation on their behalf.
 4          IT IS SO STIPULATED.
 5                                            Respectfully submitted,
 6   DATED: August 12, 2011                   /s/ Gilbert A. Roque
                                              GILBERT A. ROQUE, Attorney for
 7                                            HUGO CHAVEZ DE LA CRUZ, Defendant
 8   DATED: August 12, 2011                   /s/ J. Toney
                                              J. TONEY, Attorney for
 9                                            JUAN MANUEL CUEVAS, Defendant
10   DATED: August 12, 2011                   /s/ Paul A. Hemesath
                                              PAUL A. HEMESATH
11                                            Assistant United States Attorney
                                              Attorney for Plaintiff
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                                   2
        Case 2:10-cr-00413-MCE Document 38 Filed 08/18/11 Page 3 of 3


 1                                              ORDER
 2          The Court, having received, read and considered the stipulation of the parties, and good
 3   cause appearing therefrom, adopts the stipulation of the parties in its entirety as its order.
 4   Based on the stipulation of the parties, the Court finds that the ends of justice served by the
 5   granting of such continuance outweigh the best interests of the public and the defendants in
 6   a speedy trial, and orders that the time from the date of the parties’ stipulation, August 12,
 7   2011, to and including the new Status Conference, September 29, 2011, shall be excluded
 8   from computation of time within which the trial of this case must be commenced under the
 9   Speedy Trial Act, pursuant to 18 U.S.C. § 3161(h)(7)(A) and (B)(iv) and Local Code T4
10   (reasonable time for defense counsel to prepare).
11          It is further ordered that the August 25, 2011, Status Conference is vacated and shall
12   be continued until September 29, 2011, at 9:00 a.m.
13          IT IS SO ORDERED.
14    Dated: August 17, 2011

15
                                                 ______________________________
16                                               MORRISON C. ENGLAND, JR.
17                                               UNITED STATES DISTRICT JUDGE

18
19
20
21
22
23
24
25
26
27
28

                                                   3
